991 F.2d 791
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Boyd R. SECRIST, Petitioner,v.DIRECTOR, OFFICE OF WORKERS' COMPENSATION PROGRAMS, UNITEDSTATES DEPARTMENT OF LABOR, Respondent.
    No. 92-1344.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 20, 1992Decided:  April 20, 1993
    
      On Petition for Review of an Order of the Benefits Review Board.  (BLA)
      Boyd R. Secrist, Appellant Pro Se.
      Michael John Denney, Eileen Mary McCarthy, UNITED STATES DEPARTMENT OF LABOR, for Respondent.
      Ben.Rev.Bd.
      AFFIRMED.
      Before WIDENER, HALL, and PHILLIPS, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Boyd R. Secrist seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of a waiver of an overpayment of black lung benefits awarded pursuant to 30 U.S.C.A. §§ 901-945 (West 1986 &amp; Supp. 1992).  Our review of the record discloses that the Board's decision is based upon substantial evidence and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Secrist v. Director, Office of Workers' Compensation Programs, BRB No. 91-1076-BLA (Feb. 18, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    